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 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11    DAVID SCHROEDER,                                   Case No.: 3:16-cv-02987-BEN-WVG
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13    v.                                                 MOTION AND STIPULATION FOR
                                                         DISMISSAL OF ENTIRE ACTION
14    EQUIFAX INFORMATION SERVICES,
                                                         WITH PREJUDICE
      LLC; CAPITOL ONE, N.A.; KOHL'S
15
      DEPARTMENT STORES, INC.,
16                                   Defendants.
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18          Having read and considered the Joint Motion and Stipulation for Dismissal filed by
19    Plaintiff David Schroeder and Defendants Equifax Information Services, LLC and Kohl’s
20    Department Stores, Inc., and good cause appearing, IT IS HEREBY ORDERED:
21          The parties’ Joint Motion for an Order dismissing the entire action with prejudice is
22    hereby GRANTED. Each party is to bear its own fees and costs.
23          IT IS SO ORDERED.
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25    Dated: April 10, 2017
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